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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

HEARTLAND ALLIANCE FOR HUMAN
NEEDS & HUMAN RIGHTS d/b/a
NATIONAL IMMIGRANT JUSTICE
CENTER
                                                   No. 1:16-cv-00211-RMC
               Plaintiff,

              v.
                                                   ORAL ARGUMENT REQUESTED
UNITED STATES DEPARTMENT OF
HOMELAND SECURITY et al.

              Defendants.


       PLAINTIFF’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT

       Pursuant to Fed. R. Civ. P. 56, plaintiff moves this Court for partial summary judgment

that the portions of each of the draft Secure Communities statistical monitoring report documents

identified in Defendant DHS’s Vaughn indexes attached to the Declaration of James V.M.L.

Holzer in Support of Defendants’ Motion for Partial Summary Judgment, dated April 18, 2017

and filed in this action on April 28, 2017 (ECF No. 31-2) (hereinafter, “Holzer Decl.”), that are

(i) tables with data and (ii) “metrics” (e.g., equations) are not exempt from disclosure. Plaintiff

further seeks an order directing Defendant DHS to release those portions of these records.

       Plaintiff respectfully submits the accompanying memorandum of points and authorities in

support of this motion.


Dated: May 12, 2017                   Respectfully submitted,


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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

HEARTLAND ALLIANCE FOR HUMAN
NEEDS & HUMAN RIGHTS d/b/a
NATIONAL IMMIGRANT JUSTICE
CENTER
                                                  No. 1:16-cv-00211-RMC
              Plaintiff,

              v.

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY et al.

              Defendants.


      PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANT DHS’S
      MOTION FOR PARTIAL SUMMARY JUDGMENT AND IN SUPPORT OF
      PLAINTIFF’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT

       Plaintiff Heartland Alliance for Human Needs & Human Rights d/b/a National Immigrant

Justice Center (“NIJC”) respectfully submits this memorandum of points and authorities in

opposition to the motion of Defendant U.S. Department of Homeland Security (“DHS”) for

partial summary judgment and in support of Plaintiff’s cross-motion for partial summary

judgment.

I.     INTRODUCTION AND SUMMARY

       Secure Communities was an immigration enforcement program administered by

Defendant U.S. Immigration and Customs Enforcement (“ICE”)—a component of DHS—from

2008 to 2014 but then replaced by the Priority Enforcement Program (“PEP”) in 2015. See

Plaintiff’s Statement of Material Facts Not in Genuine Dispute (hereinafter, “Plaintiff’s Stmt.”)

at ¶ 6; Declaration of Seth A. Watkins in Support of Plaintiff’s Motion for Partial Summary

Judgment (hereinafter, “Watkins Decl.”), Exhibit 4, available at https://www.ice.gov/secure-

communities. Nevertheless, on January 25, 2017, President Donald Trump issued an Executive


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Order directing that the Secretary of Homeland Security “shall immediately take all appropriate

action to terminate the Priority Enforcement Program (PEP) . . . and to reinstitute the

immigration program known as ‘Secure Communities.’” See Border Security and Immigration

Enforcement Improvements, Exec. Order No. 13767 of Jan. 25, 2017, 82 Fed. Reg. 8793 (Jan.

30, 2017). Under Secure Communities, each time state and local law enforcement arrested and

booked a person into custody for a criminal offense, that person’s fingerprints are submitted to

the Federal Bureau of Investigation (“FBI”)—as is standard practice—but then the FBI also

transmits the fingerprints to DHS. See Plaintiff’s Stmt. ¶¶ 9-10; Watkins Decl., Exhibit 5 at 4.

At that point, ICE compares the fingerprints with those in an immigration fingerprint database.

See Plaintiff’s Stmt. ¶ 10; Watkins Decl., Exhibit 5 at 4. From there, ICE determines if the

person also is subject to removal (deportation) and a detainer could be issued requesting that the

state or local jail facility hold the individual so that an ICE interview can be conducted. Id.

       Concerns arose about the implementation of Secure Communities. In response to those

concerns, on June 14, 2011, DHS’s Officer for Civil Rights and Civil Liberties and ICE’s

Executive Associate Director sent a memo to all ICE and CRCL personnel government stating

that the government would “address civil rights complaints” including “statistical anomalies

(‘yellow flags’) recognized through standing quarterly reviews of Secure Communities data.”

See Plaintiff’s Stmt. ¶ 11; Watkins Decl., Exhibit 6 at 1-2, Memorandum concerning “Secure

Communities Complaints Involving State or Local Law Enforcement Agencies,” dated June 14,

2011, as downloaded from https://web.archive.org/web/20111020082819/https://www.ice.gov/

doclib/secure-communities/pdf/complaintprotocol.pdf on May 12, 2017. That same month, a

Task Force on Secure Communities was created at the request of the Secretary of Homeland

Security and asked how ICE might improve Secure Communities. See Plaintiff’s Stmt. ¶ 12;




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Watkins Decl., Exhibit 7 at 2, ICE Office of the Director, PROTECTING THE HOMELAND: ICE

RESPONSE TO THE TASK FORCE ON SECURE COMMUNITIES FINDINGS AND RECOMMENDATIONS

(Apr. 27, 2012) (hereinafter, “ICE Response to the Task                      Force”), available at

http://www.dhs.gov/xlibrary/assets/hsac/ice-response-to-task-force-on-secure-communities.pdf.

Specifically, the Task Force was asked how to address concerns that Secure Communities

impacted community policing and involved the possibility of racial profiling. Id.

        The ICE Response to the Task Force disclosed that DHS’s Office of Civil Rights and

Civil Liberties (“CRCL”) would take a lead role in a quarterly process:

                . . . [I]n order to identify jurisdictions that may be making
                improper arrests that could result in identification of aliens through
                Secure Communities, ICE and CRCL have retained a leading
                criminologist/statistician who is examining data for each
                jurisdiction where Secure Communities is activated, comparing
                data for aliens identified by the program to relevant arrest-rate
                data, and identifying any indications of racial profiling . . .
                Statistical outliers will be subject to an in-depth analysis . . . This
                analysis will take place four times per year to ensure consistent
                monitoring, and the assessments will be shared quarterly with the
                Department of Justice (DOJ). The data review process initiated
                with data from the third quarter of fiscal year 2011 (April 1-June
                30, 2011), and is continuing on a rolling basis, so that outliers
                identified in one quarter are subject to in-depth analysis as the
                statistical analysis is conducted on the next quarter’s data. CRCL
                and ICE expect to release further information on the results of the
                analysis on a periodic basis once investigation of apparent
                jurisdiction-specific problems is complete.

Id. at 9.

        By November 2011, DHS provided further details of the statistical monitoring in a pair of

documents both entitled SECURE COMMUNITIES: STATISTICAL MONITORING. The monitoring was

summarized in the first such document as follows:

                Each quarter, ICE and CRCL, with the assistance of an outside
                expert statistician, calculate statistics based on fingerprint
                submissions, alien identifications, and underlying demographic and



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               crime data to identify jurisdictions whose arrest patterns appear
               unusual or anomalous. . . .

               The technical details are available [at this hyperlink], but the
               statistics are fairly straightforward. First, for each county where
               Secure Communities has been activated, we compare the
               percentage of all alien arrestee fingerprints that match an
               immigration database record to the percentage of that county’s
               population that (based on Census Bureau data) was born abroad.
               Second, we compare the number of arrested aliens with
               immigration records to the overall crime data for the county (as
               surveyed by the FBI) multiplied by the percentage of the county’s
               population that was born abroad. And third, we compare the
               incidence of less-serious criminal arrests among the identified alien
               group with the same incidence in the overall crime data. For each
               of these metrics, a particularly high score could result from
               unusual or skewed police attention to crimes committed by aliens,
               or it could instead result from a variety of other circumstances.
               Using these calculations, CRCL produces a set of approximately
               two dozen of the highest-ranking jurisdictions for further analysis,
               each quarter.

See Plaintiff’s Stmt. ¶ 15; Watkins; Decl., Exhibit 8, SECURE COMMUNITIES: STATISTICAL

MONITORING, (hereinafter, “DHS Statistical Monitoring Document 1”) U.S. Dep’t of Homeland

Security (Nov. 16, 2011), available at https://www.ice.gov/doclib/secure-communities/pdf/

statisticalmonitoring.pdf.

       In the second such document, DHS identified certain statistical metrics for the

monitoring: (1) a “foreign-born arrestee comparison” which sought to identify “the jurisdictions

where aliens appear to constitute a significantly greater fraction of the arrested population than

they do of the general population”; (2) a “foreign-born crime comparison” which sought to

identify “[p]atterns showing aliens are arrested at a higher rate for minor crimes, relative to their

proportion within the population and the underlying crime incidence”; and (3) an “identified

alien crime severity comparison” which sought to identify where “enforcement among aliens is

particularly concentrated on minor crimes—arrests for which are more often (but not always)

discretionary, and therefore the areas in which bias might occur.” See Plaintiff’s Stmt. ¶¶ 16-29;


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Watkins Decl., Exhibit 9, at 2-6, SECURE COMMUNITIES: STATISTICAL MONITORING, Dep’t of

Homeland Security (Nov. 16, 2011), available at https://web.archive.org/web/20121007101300/

http://www.ice.gov/doclib/secure-communities/pdf/sc-statistical-monitoring.pdf.         Importantly,

DHS set forth in details its equations for calculating these metrics, examples, and so-called

“limitations” of the metrics. Id.

       Several years later, on March 14, 2014, NIJC filed a FOIA request with DHS’s CRCL

and requested, inter alia, “all reports produced related to the Secure Communities Statistical

Monitoring, including all draft reports and reports produced by contracted statistician(s).” See

Plaintiff’s Stmt. at ¶ 1; Watkins Decl., Exhibit 1 at 1. It took three years for DHS to finally

provided Vaughn indexes admitting to the existence of eighty-three (83) drafts of Secure

Communities statistical monitoring report documents, including seventy-seven (77) iterations of

draft reports and six (6) “comment matrices” concerning the drafts. See Plaintiff’s Stmt. ¶¶ 2, 4;

Watkins Decl., Exhibit 2 at 1.        For the first time in a publicly available record, DHS

acknowledged that no final reports existed related to Secure Communities statistical monitoring.1

See Plaintiff’s Stmt. ¶ 3. The drafts appear to have been created over the time frame May 2011

August 2013. See Plaintiff’s Stmt. ¶ 4; Watkins Decl., Exhibit 2; ECF Nos. 25-1, 29-1, 29-2, 29-

3, & 29-4. All of the draft reports were withheld in full under the deliberative process privilege,

5 U.S.C. § 552(b)(5) (“FOIA Exemption 5”). Id. Other than the headings of the tables that


       1
           Similarly, on November 4, 2016, NIJC filed a FOIA request with DHS’s CRCL and
requested, inter alia, “all reports produced related to [Priority Enforcement Program (“PEP”)]
statistical monitoring, including all draft reports, all reports produced by contracted
statistician(s), and all statistical and data monitoring reports.” See Plaintiff’s Stmt. ¶ 5; Watkins
Decl., Exhibit 3 at 2. DHS first indicated to NIJC on January 12, 2017, in a Vaughn index, that
“[n]o reports, in draft or final form, were created relating to PEP statistical monitoring.” See
Plaintiff’s Stmt. ¶ 6; Watkins Decl., Exhibit 2 at 1. Again, it was the first time that DHS
acknowledged in a publicly available record that no final reports existed related to PEP statistical
monitoring.



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formed the comment matrices, all other portions of those records also were withheld under FOIA

Exemption 5. See Plaintiff’s Stmt. ¶ 4.

       Not satisfied with DHS’s withholding of the statistical monitoring reports, NIJC

requested that the Court order partial summary judgment briefing with respect to DHS’s

withholdings of (i) tables with data and (ii) “metrics” (e.g., equations) in the draft report

documents. See ECF No. 25 (Jan. 31, 2017). The Court subsequently suspended ongoing review

and production by Defendants DHS and ICE with respect to other documents responsive to other

portions of NIJC’s FOIA requests at issue in this action and ordered partial summary judgment

briefing on the narrow issue of whether the requested portions of the withheld drafts should be

ordered instead to be disclosed.2 See Minute Orders (Feb. 1 & 2, 2017).

       In sum, as argued below, DHS has failed to meet its burden under Fed. R. Civ. P. 56 and

thus its motion must be denied. Moreover, the tables with data and “metrics” (e.g., equations) in

each of the withheld draft Secure Communities statistical monitoring report documents identified

in Defendant DHS’s Vaughn indexes are not exempt from disclosure and must be released.

Thus, plaintiff’s cross-motion for summary judgment must be granted.




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           In its memorandum in support of its motion for partial summary judgment, the
government states that “Defendants respectfully request that the Court grant their partial motion
for summary judgment and dismiss Plaintiff’s Complaint with prejudice.” See DHS’s
Memorandum of Law in Support of Defendants’ Partial Motion for Summary Judgment, ECF
No. 31, at 1. Of course, given that (i) NIJC’s FOIA requests seek disclosure of additional subject
matter, (ii) ICE’s and DHS’s document productions have been suspended by the Court but are
not yet completed, and (iii) other disputes may remain to be resolved for example concerning
ICE’s and DHS’s withholdings of other requested records, this action cannot be dismissed when
the Court rules on the parties’ cross-motions for partial summary judgment.



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                                         ARGUMENT

       DHS SHOULD BE DENIED PARTIAL SUMMARY JUDGMENT
       WHILE NIJC’S CROSS-MOTION SHOULD BE GRANTED

II.    SUMMARY JUDGMENT STANDARD AND FOIA

       Summary judgment shall be granted when it can be shown “that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a). In a FOIA case, the agency bears the burden of justifying nondisclosure,

5 U.S.C. § 552 (a)(4)(B) (“the burden is on the agency to sustain its action”), and the agency is

thus required to submit detailed declarations identifying the documents at issue and explaining

why they qualify for the claimed exemptions. See Petroleum Info. Corp. v. Dep’t of the Interior,

976 F.2d 1429, 1433 (D.C. Cir. 1992); King v. Dep't of Justice, 830 F.2d 210, 217 (D.C. Cir.

1987); Vaughn v. Rosen, 484 F.2d 820, 826-28 (D.C. Cir. 1973).             Declarations that are

conclusory and nonspecific cannot justify an agency’s decision to withhold the requested

records. See Public Citizen Health Research Group v. FDA, 185 F.3d 898, 906 (D.C. Cir. 1999);

Voinche v. FBI, 940 F. Supp. 323, 327 (D.D.C. 1996), aff'’d, 1997 U.S. App. LEXIS 19089

(D.C. Cir. June 19, 1997).

       The FOIA statute is unique in administrative law in that it places the burden of justifying

withholding on the defendant agency and mandates de novo judicial review rather than the usual

deferential standard of review. See Dep’t of Justice v. Reporters Comm. for Freedom of the

Press, 489 U.S. 749, 755 (1989) (“Unlike the review of other agency action that must be upheld

if supported by substantial evidence and not arbitrary or capricious, the FOIA expressly places

the burden ‘on the agency to sustain its action’ and directs the district courts to ‘determine the

matter de novo.’”) (quoting 5 U.S.C. § 552(a)(4)(B)); see also Dep’t of Justice v. Tax Analysts,

492 U.S. 136, 142 n.3 (1989) (“the burden is on the agency to demonstrate, not the requester to



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disprove, that the materials sought . . . have not been improperly withheld.”). Consistent with the

Act’s dominant policy of disclosure rather than secrecy, the exemptions to FOIA are to be

narrowly construed. See Dep’t of the Interior v. Klamath Water Users Protective Ass’n, 532

U.S. 1, 8 (2001).

       “[E]ach agency, upon any request for records which (i) reasonably describes such records

and (ii) is made in accordance with published rules . . . shall make the records promptly available

to any person,” 5 U.S.C. § 552(a)(3)(A), except if a FOIA exemption applies in which case

responsive records or portions thereof may be withheld from disclosure. “Any reasonably

segregable portion of a record shall be provided to any person requesting such record after

deletion of the portions which are exempt.” 5 U.S.C. § 552(b). “[N]on-exempt portions of a

document must be disclosed unless they are inextricably intertwined with exempt portions.”

Mead Data Cent., Inc. v. U.S. Dep’t of Air Force, 566 F.2d 242, 260 (D.C. Cir. 1977).

       With respect to FOIA Exemption 5, an agency may withhold “inter-agency or intra-

agency memorandums or letters that would not be available by law to a party other than an

agency in litigation with the agency.” 5 U.S.C. § 552(b)(5). “Given the literal language of

Exemption 5, it is not surprising that the courts have construed this exemption to encompass the

protections traditionally afforded certain documents pursuant to evidentiary privileges in the civil

discovery context.” Taxation with Representation Fund v. IRS, 646 F.2d 666, 676 (D.C. Cir.

1981). To this end, “[t]he courts have recognized that Exemption 5 protects, as a general rule,

materials which would be protected under the attorney-client privilege; the attorney work-

product privilege; or the executive ‘deliberative process’ privilege.”       Id. (internal citations

omitted).




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       “The deliberative process privilege protects agency documents that are both predecisional

and deliberative.” Judicial Watch, Inc. v. FDA, 449 F.3d 141, 151 (D.C. Cir. 2006), citing

Coastal States Gas Corp. v. Dep’t of Energy, 617 F.2d 854, 866 (D.C. Cir. 1980). “We deem a

document predecisional if ‘it was generated before the adoption of an agency policy’ and

deliberative if ‘it reflects the give-and-take of the consultative process.’” Judicial Watch, 449

F.3d at 151, quoting Coastal States, 617 F.2d at 866.

       “[T]he deliberative process privilege directly protects advice and opinions and does not

permit the nondisclosure of underlying facts unless they would indirectly reveal the advice,

opinions, and evaluations circulated within the agency as part of its decision-making process.”

Mead Data Cent., Inc. v. U.S. Dep’t of Air Force, 566 F.2d 242, 254 n. 28 (D.C. Cir. 1977). “If

[] documents are exempt only because of the deliberative process privilege, the district court

must require the [agency] to describe the factual content of the documents and disclose it or

provide an adequate justification for concluding that it is not segregable from the exempt

portions of the documents.” Id. “Many [E]xemption [5] disputes may be able to be decided by

application of the simple test that factual material must be disclosed but advisory material,

containing opinions and recommendations, may be withheld.” Id. at 256. “Exemption [5] is

intended to protect the deliberative process of government and not just deliberative material.”

Id., citing Montrose Chemical Corp. v. Train, 491 F.2d 63, 68-71 (D.C. Cir. 1974).

III.   THE TABLES WITH DATA AND “METRICS” IN THE DRAFT STATISTICAL
       MONITORING REPORT DOCUMENTS ARE FACTUAL MATERIAL THAT
       CANNOT BE WITHHELD

       The DHS Holzer Declaration states that “[t]he drafts described in [DHS’s January 12,

2017 Vaughn index] [] include tables” which “utilized data ICE ERO provided to CRCL,” and

“DHS released th[at] data . . . to Plaintiff on October 8, 2014.” See DHS Holzer Decl. ¶¶ 21-23.

Further, DHS’s January 12, 2017 Vaughn index states that “[t]he information and data contained


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within the tables were distilled from a larger group of information and data (the raw data having

been released to Plaintiffs prior to the initiation of litigation).” See DHS Holzer Decl., Exhibit A

at 45.    That Vaughn index also identifies four categories of draft tables in the withheld

documents: tables showing aliens as a share of removals and returns; tables generated to estimate

number of aliens not placed within the correct category based on criminal history at time of

removal; tables depicting that portion of Secure Communities enforcement activity dedicated

exclusively to misdemeanants; table depicting criminal aliens as a share of removals and returns.

Id. at 45-6. As for the other four Vaughn indexes prepared by DHS concerning the withheld

drafts, none indicate whether any tables of data are provided.

         As for metrics (e.g., equations), one of DHS’s March 31, 2017 Vaughn indexes discloses

that the withheld draft reports contain “formulas for calculating an IDENT match rate metric” as

well as “formulas for calculating a place-of-birth metric.” See DHS Holzer Decl., Exhibit B at 6-

7. As for the other four Vaughn indexes prepared by DHS concerning the withheld drafts, none

indicate whether any metrics are provided.

         In 2011, DHS itself published two documents entitled SECURE COMMUNITIES:

STATISTICAL MONITORING, the first of which generally explained the metrics to be used and the

second of which provided the “technical details” including the actual formulas (i.e.,

equations/metrics) for calculating “IDENT matches,” “alien arrest patterns,” and the “severity of

offenses among IDENT-identified arrested aliens.” See Plaintiff’s Stmt. ¶¶ 15-29; Watkins

Decl., Exhibits 8-9. Also, these documents identified limitations associated with the metrics. Id.

In addition, one of the documents provided tables with sample Secure Communities statistical

monitoring data as well as sample calculations using the three Secure Communities monitoring




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metrics of “foreign-born arrestee comparison,” “foreign-born crime comparison,” and “identified

alien crime severity comparison.” See Plaintiff’s Stmt. ¶ 29; Watkins Decl., Exhibit 9.

       Numerous courts have held that statistical reports, including those that deploy specifically

chosen methodologies, are not covered by FOIA Exemption 5. See, e.g., Carter v. Dep’t of

Commerce, 307 F.3d 1084 (9th Cir. 2002); Assembly of State of California v. Dep’t of

Commerce, 968 F.2d 916 (9th Cir. 1992); Pacific Molasses Co. v. N. L. R. B. Regional Office #

15, 577 F.2d 1172 (5th Cir. 1978).

       The Ninth Circuit’s decisions in Assembly and Carter are particularly instructive. Both

sought disclosure of the Census Bureau’s “adjusted” population figures for the 1990 and 2000

Census, which were created using statistical methodologies intended to better capture

undercounted, generally minority populations. In both instances, the Secretary of Commerce

would decide whether to use the adjusted or unadjusted population figures as the official census

figures (from which redistricting and federal funding decisions flow). In both instances, the

Ninth Circuit held that the statistically “adjusted” population figures are not exempted by (b)(5).

Significantly, the Ninth Circuit observed that “the Bureau has already disclosed the method and

procedures used to generate adjust data . . . .” Carter, 307 F.3d at 1091; Assembly, 968 F.2d at

922-23. The Court emphasized:

               [T]he adjusted data would not reveal anything about the most
               sensitive decision the Secretary had to make, namely which set of
               figures (adjusted or unadjusted) should be adopted as the official
               United States census. That decision involved the Secretary’s
               judgment as to which figures best estimated the actual population
               of the United States. The bare numbers reveal nothing about the
               process informing that judgment.

Carter, 307 F.3d at 1091 (quoting Assembly, 968 F.2d at 922).

       Similarly here, in the publicly available SECURE COMMUNITIES: STATISTICAL

MONITORING document, DHS provided a detailed description of the precise data and statistical


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formulas it intended to compile and provided a model of the proposed final quarterly reports.

See Plaintiff’s Stmt. ¶¶ 16-29; Watkins Decl., Exhibit 9.

       To the extent that the withheld draft Secure Communities statistical monitoring report

documents identified in DHS’s Vaughn indexes attached to the Holzer Declaration included

(i) tables with data and/or (ii) “metrics” (e.g., equations), those portions of the drafts simply are

not exempt from disclosure. DHS failed to demonstrate, by Declaration or Vaughn indexes, that

these withholdings were proper.

       As a separate matter, DHS’s Declaration and Vaughn indexes are facially deficient for

failing to adequately describe the presence of tables with data and/or metrics in the drafts.

Because DHS’s burden under Fed. R. Civ. P. 56 thus has not been met, DHS’s motion for partial

summary judgment must be denied.

IV.    DHS DID NOT ADEQUATELY JUSTIFY ITS FAILURE TO PROVIDE
       SEGREGABLE TABLES WITH DATA AND/OR METRICS

       DHS’s withholdings of the draft Secure Communities statistical monitoring report

documents in their entirety (or, essentially in their entirety with respect to the “comment

matrices” comprising a few of the drafts) has not been adequately justified. As is clear from the

model tables and equations disclosed in the SECURE COMMUNITIES: STATISTICAL MONITORING

document, the tables and metrics are discrete, readily segregable portions of the statistical

monitoring reports.    “If a record contains information that is exempt from disclosure, any

reasonably segregable information must be released after deleting the exempt portions, unless the

nonexempt portions are inextricably intertwined with exempt portions.” McKinley v. Federal

Deposit Insurance Corp., 2010 WL 5209337, *7 (D.D.C. 2010) (citing Hussain v. U.S. Dep’t of

Homeland Security, 674 F. Supp. 2d 260, 272 (D.D.C. 2009)). DHS’s motion for summary

judgment must be denied at least on the basis that it has failed to provide an adequate



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justification for concluding that these portions are not segregable from the exempt portions of the

documents. See, e.g., Mead Data Cent., 566 F.2d at 254 n. 28.

       DHS therefore failed to meet its burden to demonstrate that all reasonably segregable

information has been disclosed.

V.     CONCLUSION

       NIJC respectfully requests that the Court grant its cross-motion for partial summary

judgment and deny DHS’s motion for partial summary judgment.


Dated: May 12, 2017                   Respectfully submitted,


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